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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


COMMONWEALTH OF PENNSYLVANIA,
et al.,

                                  Plaintiffs,
       v.

ELISABETH D. DEVOS, in her official
capacity as Secretary of Education, et al.,

                                  Defendants,

       and                                                Case No. 20-cv-01468-CJN

FOUNDATION FOR INDIVIDUAL RIGHTS
IN EDUCATION, et al,

                       Intervenor-Defendants,

       and

STATE OF TEXAS,

             [Proposed] Intervenor-Defendant.



   TEXAS’S CROSS-MOTION FOR SUMMARY JUDGMENT AND RESPONSE TO
             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


       Putative Intervenor-Defendant the State of Texas moves for summary judgment. Plaintiffs’

challenges to the Final Rule all fail as a matter of law. There are no genuine disputes of material

fact, and Defendants are entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a).

       Rather than burden the court with duplicative briefing, Texas incorporates by reference the

briefing filed by the Department of Education. See ECF 132, 133. The Department will cease to
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adequately represent Texas’s interests in defending the Final Rule on January 20, see ECF 130.1

at 11–12, but there is no reason to duplicate the Department’s current briefing.



Date: January 19, 2021                             Respectfully submitted.

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                                CERTIFICATE OF SERVICE

       I, Kathleen T. Hunker, hereby certify that on this the 19th day of January, 2021, a true and
correct copy of the foregoing document was transmitted using the CM/ECF system, which
automatically sends notice and a copy of the filing to all counsel of record.

                                                             /s/ Kathleen T. Hunker
                                                             Kathleen T. Hunker
